      Case 1:23-cv-00514-DLM-JMR Document 30 Filed 12/11/23 Page 1 of 3


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

TC COMPANY,

                       Plaintiff,
v.                                                              No. 1:23-cv-00514 DLM/JMR

UNITED STATES FOREST SERVICE,

                      Defendant.

                                    JOINT STATUS REPORT

       Plaintiff and Defendant, by and through their respective undersigned counsel, submit this

Joint Status Report per the Order entered November 27, 2023 (Doc. 28).

       On 11/27/23 at 4:12 pm Plaintiff (attorney Weisman) emailed the USFS (AUSA Lucero)

regarding items requested in the FOIA requests that are the subject of this suit, that Plaintiff has

not received, per the review of Plaintiff’s expert:

               1. Daily logs for all burn days (ICS Form 214).
               2. Red Cards for all prescribed fire personnel conducting the burn.
               3. On site weather observations for all burn days (This could be on ICS
               Form 214).
               4. Daily prescribed burn accomplishments (This could be on ICS Form
               214).

The above items were included in the following FOIA request:

               FOIA request 2 (Doc. 1), (pre-lawsuit FOIA request 2023-
               FS-R3-02406-F), (pre-lawsuit, FOIA appeal 2023-FS-WO-
               0059-A)
               For the Cerro Pelado Fire that started on 4/22/2022,
               - prescribed burn accomplishments (location and acreage),
               - daily logs of all prescribed burn operations,
               - weather observations for the area(s) of the prescribed burn
               operations,
               - the prescribed fire personnel and the accompanying
               qualifications (Red Cards) on the Jemez Ranger District for
               2022.

       On December 8, 2023, at 5:41 pm, attorney Weisman emailed AUSA Lucero about the

outstanding items above and the status report due December 11, 2023. On December 11, 2023, at

1:3O pm AUSA Lucero informed attorneys Weisman and Bauman:
                                          1
       Case 1:23-cv-00514-DLM-JMR Document 30 Filed 12/11/23 Page 2 of 3


                I have had the Forest service go back and check with
                everyone they could think of to see if there are any other
                documents to be released and the answer is no. I was just
                informed that there are no form 214 for this fire. That being
                the case you now have all of the documents that are
                responsive to your FOIA request. I will so inform the court.

Upon receipt of the above, Plaintiff’s counsel (attorneys Weisman and Bauman) reached out to

their expert about the Forest Service not having any: 1. Daily logs for all burn days (ICS Form 214);

2. Red Cards for all prescribed fire personnel conducting the burn; 3. On site weather observations for all

burn days (This could be on ICS Form 214); or 4. Daily prescribed burn accomplishments (This could be on

ICS Form 214). Plaintiff’s counsel seek more time to confer with their expert about the Forest

Service’s position in order to determine whether they will challenge the sufficiency of the Forest

Service's search on these two FOIA requests. Plaintiff seeks an extension to January 8, 2023 for

any further action, including proposing a briefing schedule, should that be necessary. At this time

Plaintiff is not seeking or proposing a briefing schedule.

                                                         Respectfully submitted,

                                                         ALEXANDER M.M. UBALLEZ
                                                         United States Attorney
                                                         /s/ Manuel Lucero_____
                                                         MANUEL LUCERO
                                                         Assistant United States Attorney
                                                         P.O. Box 607
                                                         Albuquerque, New Mexico 87103
                                                         (505) 224-1467
                                                         manny.lucero@usdoj.gov


                                                         B & D LAW OFFICES, P.C.
                                                         By: /s/ Christopher P. Bauman
                                                         Christopher P. Bauman, cpb@bdsfirm.com
                                                         Mark C. Dow, mcd@bdsfirm.com
                                                         Cynthia L. Weisman, cw@bdsfirm.com
                                                         P.O. Box 30684
                                                         Albuquerque, NM 87190
                                                         (505) 883-3191
                                                         Counsel for Plaintiff



                                                    2
      Case 1:23-cv-00514-DLM-JMR Document 30 Filed 12/11/23 Page 3 of 3



I HEREBY CERTIFY that on December 11, 2023, I filed the foregoing pleading electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

                                               Manuel Lucero, manny.lucero@usdoj.gov
                                               Assistant U.S. Attorney

                                               /s/ Christopher P. Bauman
                                               Christopher P. Bauman




                                           3
